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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------ X
SAGI GENGER,                                                             :
                                                                         :
                                          Plaintiff,                     :   1:14-cv-05683 (KBF)
                                                                         :
                         -against-                                       :
                                                                         :
ORLY GENGER,
                                                                         :
                                          Defendant.                     :
------------------------------------------------------------------------ X

                              NOTICE OF MOTION OF
                 PLAINTIFF SAGI GENGER FOR SUMMARY JUDGMENT

        PLEASE TAKE NOTICE that Plaintiff Sagi Genger (“Plaintiff”), pursuant to Rule 56

of the Federal Rules of Civil Procedure, the Local Rules of the Southern District of New York

and the Individual Practices of this Court, and upon the accompanying Memorandum of Law, the

Declaration of Mary C. Pennisi, executed October 20, 2014, and exhibits attached thereto,

Declarations of Sagi Genger, executed May 29, 2014 and July 7, 2014, respectively, Declaration

of Dalia Genger, executed July 7, 2014, and exhibits attached thereto, Declaration of David

Parnes, executed May 29, 2014, and exhibits attached thereto, Declaration of Dennis Ryan,

executed May 29, 2014, and the exhibit attached thereto, and all pleadings and proceedings

herein, shall move before the Honorable Katherine B. Forrest, United States District Judge, at the

United States Court House, 500 Pearl Street, New York, New York, for an order granting

Plaintiff summary judgment on the question of liability on his breach of contract claim, or in the

alternative, on his promissory estoppel claim.

        PLEASE TAKE FURTHER NOTICE, that, pursuant to the Court’s Order dated

September 19, 2014, opposing papers, if any, shall be served not later than November 14, 2014,

and reply papers, if any, shall be served not later than December 5, 2014.
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Dated:         New York, New York
               October 20, 2014
                                      Respectfully submitted,

                                      MORGAN, LEWIS & BOCKIUS LLP


                                      By:          /s/ John Dellaportas
                                            John Dellaportas
                                            Nicholas Schretzman
                                            Mary C. Pennisi
                                            101 Park Avenue
                                            New York, New York 10178
                                            Attorneys for Plaintiff Sagi Genger




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